Case 2:03-cr-20316-.]PI\/| Document 81 Filed 05/02/05 Page 1 of 2 Page|D 78 f

Ffi.i§{.? iii ___ _. , 'J.‘.’.}.
IN THE UNITED STATES DISTRICT COURT FOR %
THE WESTERN DISTRICT AT TENNESSEE mg EU\( ma PH 2: 99
WESTERN DIVISION

 

   

 

 

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UNITED STATES OF AMERICA,
Plaintit`f,
VS. CR. NO. 03-CR-20316-D
SHELDRICK EDWARDS
Defendant.
ORDER
This cause came on to be heard and, upon review, the Court orders that the United States
Marshall’

s Offlce serve the subpoena in the above-referenced matter on the Keeper of the Books

and Records of Covington Motor COmpany/A and A Auto Rental at their address, in Covington,

Tennessee as Shown on the prepared Subpoena.

   

/QM€/(

ERNICE"DONALD
UNrrED STATES DISTRICT coURT JUDGE

DATE:ZZ &ym ).a?/ £Ad;(

 

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\i)is document entered nn the dockets§h§ds:zin'ée§m)pliance
.-,.m Hale ;s§ and/or 32(b) FFICrF on 7

   

UNITED sTATE DRISTIC COURT - W"'RNTE D'S'TRCT OFTENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

